                                                                                                                   rrT^T        ^TA^T n 1^111^^ 111 TF^T iTnn/-^
A--\TA^T ^ /0^//r»/-» ^/^ TF^T iTnn/^\                                                                                                       ^1- (-r-r^-^t^l         i-nTT-n <Tt-» A r\TrTrTi
                                                                                                                                                                                            If*   TVTTr*
                                 i-nTT-n <Tt-> A r\TrM-r» 1^TT-n AA'-STA'^T ^ /0^//f1/-» ^/^ TF^T 1TnU/^\
                                                                                                               rrT^T            ^T n 1^111^^ 111 TF^T iTnn/-^
A-^T ^ /0^//r»/-» ^/^ TF^T iTnn/^\                                                                                     J^^ ^ ^^^/-,^^/T^^r <^T^^^              t-^TT-n <Tt-» A r\TrTrT-r» -t-\TTr> A A ^
      I^T/T^T H^^^r^ r^»-> i-nTT-n <Tt-> A f\ TrTrT-r* TVrm AA'-STA'^T ^ /o^//r»/-» ^/^ TF^T 1Tnn/^\
                                                                                                            rrf^            ^T ^1 1^111^^ 111 TF^T iTnn/-^
n i^mn^ m TF^T iTnn/-^                                                                                                                                i-nTT-n <Tt-» A r\TrTrT-r» -t-\TTr> AA ^T A ^
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